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The Honorable Gabriel W. Gorenstein
United States Magistrate Judge
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007

Re: Jennifer Eckhart v. Fox News Network, LLC, and Ed Henry, Civil Case No. 1:20-cv-05593

Dear Judge Gorenstein:

       In accordance with the Court’s Individual Practices, Section 2(B), Defendant Fox News
Network, LLC (“Fox News”) submits this letter to inform the Court that briefing on Fox News’
request to continue the stay of discovery (ECF No. 142) is complete and the matter is fully
submitted.



Respectfully submitted,

/s/ Kathleen M. McKenna

Kathleen M. McKenna, Esq.


cc: All counsel of record (via ECF)




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